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    6
    7                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
    8
        JAMAL JOHNSON, individually and                   Case No. 5:19-CV-02456
    9
        on behalf of all others similarly situated,
   10
                 Plaintiff,                               PLAINTIFF’S UNOPPOSED
   11
                                                          MOTION FOR FINAL
   12    v.                                               APPROVAL OF CLASS ACTION
                                                          SETTLEMENT
   13
        MOSS BROS. AUTO GROUP. INC.
   14   and SUSAN ANDERSON,                               Date: March 24, 2022
                  Defendants.                             Time: 10:00 AM
   15
                                                          Ctrm: 6D
   16                                                     Judge: Hon. Fernando M. Olguin
   17
   18
                                NOTICE OF MOTION AND MOTION
   19
        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   20
                PLEASE TAKE NOTICE, on March 24, 2022, at 10:00 a.m., in Courtroom
   21
        6D of the above caption Court, located at 350 W. 1st Street, 6th Floor, Los Angeles,
   22
        California 90012, Plaintiff will and hereby does move for an order to grant final
   23
        approval of the class action settlement. This motion is based on this Notice of Motion
   24
        and Motion, and upon such other written or oral argument as may be presented to the
   25
        Court at the hearing.
   26
                This Motion is made following the conference of counsel pursuant to L.R. 7-
   27
        3, and subject to a settlement agreement.
   28

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    1
    2
    3
    4 DATED: February 17, 2022
    5 /s/ Scott Edelsberg
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    1            PLAINTIFF’S UNOPPOSED MOTION FOR FINAL APPROVAL
    2                       OF CLASS ACTION SETTLEMENT

    3            Plaintiff, Jamal Johnson (“Plaintiff”) on behalf of himself and a class of

    4 similarly situated persons hereby respectfully requests that the Court grant Final
    5 Approval of the Settlement in this matter. Defendants Moss Bros. Auto Group, Inc.,
    6 and Susan Anderson (“Defendants”) do not oppose Plaintiff’s motion.
    7       I.      BACKGROUND

    8            The Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and its

    9 implementing         regulations    were   enacted    by    Congress    and    the   Federal

   10 Communications Commission to “offer consumers greater protection from intrusive
   11 telemarketing calls….” Plaintiff alleges that Defendants coordinated prerecorded
                            1


   12 telephone call campaigns on behalf of the various car dealerships they manage in
   13 which prerecorded messages were sent to Plaintiff and approximately 54,314 unique
   14 cell phone numbers. Plaintiff alleged that these campaigns violated the TCPA
   15 because the prerecorded messages were sent without Defendants first obtaining
   16 express written consent. Defendants deny any wrongdoing and have articulated
   17 various challenges to class certification and the merits of Plaintiff’s claim.
   18 Defendants also have sought to enforce a class-action waiver and arbitration
   19 agreement. Plaintiff has opposed those efforts, and the arbitration motions remain
   20 submitted to the Court.
   21            Defendants deny all claims, liability, damages, losses, penalties, interest, fees,

   22 restitution and all other forms of relief that were or could have been sought in this
   23 lawsuit, as well as all class allegations. Defendants continue to dispute their liability
   24 for the claims alleged in the lawsuit, and maintain that they complied, at all times,
   25 with the TCPA and all other applicable laws and regulations. After vigorously
   26 contested litigation and as the result of extensive arm’s length negotiations following
   27
   28   1
          Federal Communications Commission, Small Entity Compliance Guide for the TCPA
        (dated May 13, 2013), https://apps.fcc.gov/edocs_public/attachmatch/DA-13-1086A1.pdf.
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    1 two mediation sessions before Ted Banstra and Jill Sperber, the Parties reached an
    2 agreement to resolve this class action. In short, the Settlement Agreement
    3 (“Settlement Agreement,” “Agreement,” or “Agr.”) includes the establishment of a
    4 $2,500,000.00 Settlement Fund available for the benefit of Settlement Class
    5 Members. The amount of each Settlement Fund Payment shall be determined by the
    6 following formula: Net Settlement Fund 2 divided by total number of unique
    7 telephone numbers that received a Message = Settlement Fund Payment. As
    8 discussed further below, uncashed funds may be redistributed to Settlement Class
    9 Members.
   10           Notice and administrative costs, Class Counsel fees, and a Service Payment to
   11 the Plaintiff/Class Representative will be paid from the Settlement Fund.
   12           On June 25, 2021, this Court preliminarily approved the settlement and
   13 authorized the distribution of notice to potential Settlement Class Members. [ECF
   14 No. 125].
   15           Not a single Settlement Class Member objected to the terms of the Settlement
   16 Agreement and only four have opted-out of the Settlement Agreement.
   17           On December 16, 2021, this Court held a final approval hearing and identified
   18 issues that precluded final approval and suggested some options the parties could
   19 address those concerns by amending the Settlement Agreement. [ECF No. 132].
   20 Consistent with the Court’s guidance, the Parties amended paragraphs 62, 64, 65, and
   21 71 of the Settlement Agreement.
   22           Plaintiff now requests request that the Court: (1) grant Final Approval to the
   23 Settlement; (2) certify for settlement purposes the Settlement Class, pursuant to Rule
   24 23(b)(3) and (e) of the Federal Rules of Civil Procedure; (3) appoint Plaintiff as Class
   25 Representative; (4) appoint as Class Counsel William Litvak, Andrew J. Shamis,
   26
   27  “Net Settlement Fund” means the Settlement Fund minus Settlement Costs. Agr. at ¶15.
        2

      “Settlement Costs” means attorneys’ fees, costs, incentive award, and administration/notice
   28 costs that are ultimately approved by this Court. Id. at ¶29.

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    1 Scott A. Edelsberg, Manuel S. Hiraldo, Ignacio J. Hiraldo, and Michael Eisenband;
    2 and (5) enter Final Judgment dismissing the Action with prejudice. 3
    3       II.      SUMMARY OF THE SETTLEMENT TERMS
    4             The Settlement terms are detailed in the Agreement filed on December 14,
    5 2020, [DE #123-1], and attached hereto as Exhibit A (“Agr.”). The Amended
    6 settlement terms are attached hereto as Exhibit B (“Amd. Agr.”). The following is a
    7 summary of the material terms.
    8                a. The Settlement Class
    9             The proposed Settlement establishes a Settlement Class as follows:
   10
                  All persons within the United States who, within the four years
   11             prior to the filing of this action (i.e., since December 20, 2015), were
   12             sent a prerecorded message from Defendants, auto dealerships
                  managed by Defendants (the “Dealerships”), or anyone acting on
   13             behalf of any Defendant or Dealership (including employees,
   14             agents, third-party contractors, and sub-contractors), to said
                  person’s telephone number, for the purpose of advertising and/or
   15             promoting any dealership that is held, operated, owned, managed,
   16             serviced and/or controlled by, and/or is a subsidiary of, Defendant
                  Moss Bros Auto Group, Inc.
   17
        Agr. ¶ 34.
   18
                  The following are excluded from the Settlement Class: (a) any trial or
   19
        magistrate judge presiding over the Action; (b) Defendants, as well as any parent,
   20
        subsidiary, affiliate or control person of Defendants, and the officers, directors,
   21
        agents, servants or employees of Defendants; (c) any of the Released Parties; (d) the
   22
        immediate family of any such person(s); (e) any Settlement Class Member who has
   23
        timely and properly opted out of this Settlement; and (f) Plaintiff’s Counsel and their
   24
        employees. Agr. ¶ 35.
   25
                     b. Settlement Consideration
   26
   27
       Concurrently with this Motion, Plaintiff has filed a Motion for Attorneys’ Fees, Costs,
        3

   28 Expenses, and an Incentive Award.

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    1           Pursuant to the Settlement, Defendants have agreed to create a cash common
    2 fund of $2,500,000.00, available for the benefit of Settlement Class Members
    3 (“Settlement Fund”). Agr. at ¶ 37.
    4               c. The Notice Program
    5           The Notice Program was designed to provide the best notice practicable and
    6 was tailored to take advantage of the information Defendants had available about
    7 Settlement Class members including their mailing address. The Administrator, Epiq
    8 Class Action & Claims Solutions, Inc. (“Epiq”) delivered notice to the Settlement
    9 Class Members in accordance with the Settlement Agreement and this Court’s
   10 preliminary approval order. See generally Decl. of Cameron Azari, attached as
   11 Exhibit C.
   12           The amendments to the Settlement Agreement, which were agreed to and
   13 executed after the Notice program was complete, do not require additional notice to
   14 the Settlement Class. Specifically, amended Paragraph 65 dictates that Settlement
   15 Fund Payments that are not cashed within 180 days will be, to the extent it’s
   16 economically feasible, redistributed on a pro rata basis to those Settlement Class
   17 Members who cashed the first round of Settlement Fund Payments. Amd. Agr. at ⁋65.
   18 As such, unlike original Paragraph 65, which called for a single round of payments
   19 with uncashed checks reverting to Defendant, the only change for Settlement Class
   20 Members that cash the first round of Settlement Fund Payments is that they might
   21 receive additional payments. Here, if the Court approves Plaintiff’s request for 25%
   22 of the Settlement Fund and reimbursement of costs, incentive award, and notice and
   23 administration costs, Plaintiff’s counsel estimates that the first round of Settlement
   24 Fund Payments will be for $34.18 to each Class Member, assuming the Court grants
   25 Plaintiff’s request for attorneys’ fees and costs, service award, and notice and
   26 administration costs.
   27           The Notice, which received no objections and is not affected by the
   28 amendment, does not mention the possibility that some settlement funds may revert

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     1 to Defendant, nor does it indicate that there would never be additional payments made
     2 to members of the Settlement Class. As such, the Notice does not contradict any of
     3 the proposed amendments to the Settlement Agreement and will result (if there is
     4 enough money) in Settlement Class Members receiving more than one Settlement
     5 Fund Payment—an outcome that will only serve to benefit Settlement Class
     6 Members. Accordingly, additional notice is not necessary and the Notice program
     7 here “fairly and adequately informed the class members of the nature of the action,
     8 the terms of the proposed settlement, the effect of the action and release of claims,
     9 the class members’ right to exclude themselves from the action, and their right to
    10 object to the proposed settlement.” Gonzalez-Tzita v. City of Los Angeles, C.D.Cal.
    11 No. CV 16-0194 FMO (Ex), 2020 U.S. Dist. LEXIS 156069, at *8 (Aug. 25, 2020).
    12           And as previously noted during the first Final Approval Hearing, the Notice
    13 program successfully reached 94.4% members of the Settlement Class. The Second
    14 Supplemental Declaration of Cameron R. Azari, attached as Exhibit D, clarifies that
    15 data produced reflected 54,887 records for potential class members with a total of
    16 110,491 prerecorded messages sent to 54,314 4 unique telephone numbers. Mr. Azari
    17 further clarifies that after preforming a reverse look-up and removing duplicate
    18 records, 1,628 records remained without a mailable address. See Exhibit D at ⁋⁋ 7-
    19 8. As such, Notice was sent to 53,259 5 (54,887 – 1,628 = 53,259) Class Members. Of
    20 the 53,259 that were sent notice, 51,818 were successfully delivered. Accordingly,
    21 notice reached approximately 94.4% of the Settlement Class Members (51,818 x 100
    22 ÷ 54,887 = 94.4%) See Exhibit D at ⁋11.
    23               d. Automatic Participation Without Claims Process
    24           Any Settlement Class member who does not timely and validly request to opt-
    25
    26
    27  Mr. Azari clarifies that in his initial Declaration, Exhibit C, he correctly reported that
         5

       53,259 members of the Settlement Class were sent notice but accidentally reported, at
    28 paragraph 15, line 11, that 53,423 members of the Settlement Class were sent notice. The
       53,423 number was a typo.
                                                    5
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     1 out shall remain in the Settlement Class, be bound by the terms of the Settlement
     2 Agreement, automatically be mailed a Settlement Fund Payment, and release their
     3 claims against Defendants.
     4               e. Allocation of the Settlement Fund Payments
     5           Each Settlement Class member who does not opt out of the Settlement shall
     6 automatically be mailed an initial Settlement Fund Payment payable by check. Amd.
     7 Agr. at ¶¶ 62, 64. The amount of each Settlement Fund Payment shall be determined
     8 by the following formula: Net Settlement Fund divided by total number of unique
     9 telephone numbers 6 that received a Message = Settlement Fund Payment. Id. at ¶62.
    10 If the Parties and the Settlement Administrator deem it to be financially feasible,
    11 uncashed checks shall be redistributed on a pro rata basis to those Settlement Class
    12 Members who cashed the first round of Settlement Fund Payments. Amd. Agr. at ⁋65.
    13 If a second round of payments is deemed infeasible or if 180 days has lapsed since
    14 the second round of payments have been issued, the Settlement Administrator shall
    15 stop payment on all outstanding checks and pay the amount of uncashed checks and
    16 any other remaining balance of the Settlement Amount, pending approval from the
    17 Court, to the Loma Linda University Children’s Hospital. Id. If the Court does not
    18 approve of Loma Linda University Children’s Hospital the uncashed checks and any
    19 other remaining balance of the Settlement Amount shall be sent to the National
    20 Consumer Law Center. Id.
    21           Courts may approve cy pres distributions if there is “a driving nexus between
    22 the plaintiff class and the cy pres beneficiaries.” Dennis v. Kellogg Co., 697 F.3d 858,
    23 865 (9th Cir. 2012). A cy pres award must be guided by (1) the objectives of the
    24 underlying statute(s) and (2) the interests of the silent class members and must
    25
    26   The total number of unique telephone numbers that received a Message (54,314) is
         6

       less than the total number of unique records in Defendants possession (54,887)
    27
       because the Administrator determined that some of the unique records were
    28 duplicative, incomplete, or did not contain “call data” confirming that a Message was
       received. See Exhibit D at ⁋⁋ 7.
                                                   6
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     1 not benefit a group too remote from the plaintiff class. Spann v. J.C. Penney Corp.,
     2 211 F. Supp. 3d 1244, 1261 (C.D. Cal. 2016) (internal citations omitted).
     3             The Parties first suggest cy pres recipient, Loma Linda University Children’s
     4 Hospital (“LLUCH”), is the “sole children’s hospital for 1.2 million kids” 7 in the
     5 Riverside California area and relies heavily on donors “to realize our vision and
     6 provide lifesaving care for kids.” Amd. Agr. at ¶65. LLUCH is relevant to the
     7 members of the Settlement Class because Defendants’ marketing efforts described in
     8 the Complaint were targeted towards consumers in the Riverside, California area
     9 because those consumers were the most likely to buy vehicles from Defendants’
    10 dealerships. The Parties have no ownership or financial interest in LLUCH. As such,
    11 the Parties believe LLUCH is a suitable cy pres recipient that will benefit Settlement
    12 Class Members and their local community.
    13             In the event the Court does not approve LLUCH as a cy pres recipient, the
    14 Parties have identified the National Consumer Law Center (“NCLC”) as a backup.
    15 Amd. Agr. at ⁋65. This Court recognized that “NCLC is a frequent recipient of cy
    16 pres awards, because its work promotes justice at both the national and state levels
    17 regarding consumer protection, unfair and deceptive acts and practices.” Estakhrian
    18 v. Obenstine, C.D.Cal. No. CV 11-3480 FMO (CWx), 2016 U.S. Dist. LEXIS
    19 147105, at *23 (C.D. Cal. Oct. 24, 2016). Other courts also recognize that the NCLC
    20 is specifically tied to the TCPA and a suitable cy pres recipient: “The National
    21 Consumer Law Center advocates against automated calls and will further the goals
    22 of        the    absent     class     members. (See NCLC, Robocalls      &   Telemarketing,
    23 https://www.nclc.org/issues/robocalls-andtelemarketing. html (last visited Sept. 21,
    24 2018).).” Lee v. Glob. Tel*Link Corp., No. 2:15-cv-02495-ODW (PLA), 2018 U.S.
    25 Dist. LEXIS 163410, at *25 (C.D. Cal. Sep. 24, 2018).
    26             To maximize the likelihood of Settlement Class Members cashing Settlement
    27
    28   7
             See https://lluch.org/about-us (last visited February 14, 2022).

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     1 Fund Payments and minimize the potential for fraud, the outside of the envelope or
     2 package containing the Settlement Fund Payment checks shall now include the words
     3 “TCPA – Moss Bros Settlement,” “IMPORTANT,” and “expires in 180 days,” but
     4 shall not mention the enclosure of a payment or check. Amd. Agr. at ¶ 62.
     5              f. Class Counsel Fees and Expenses and Plaintiff’s Service Award
     6           Class Counsel shall request from the Court a reasonable amount for attorneys’
     7 fees and shall request from the Court a reimbursement of Class Counsel’s costs and
     8 expenses. Agr. at ¶69. Plaintiff’s counsel may seek up to 25% of the Settlement for
     9 attorneys’ fees and reimbursement of exactly $12,588.03 for costs and expenses.
    10 Amd. Agr. at ⁋71. Defendants retain the right to challenge the Plaintiff’s fee request
    11 as unreasonable. Id.
    12       III.    THE SETTLEMENT SATISFIES ALL REQUIREMENTS AND
    13               MERITS APPROVAL
    14           A class action may not be dismissed, compromised, or settled without the
    15 approval of the Court. Fed. R. Civ. Proc. 23(e). The decision to approve or reject a
    16 proposed settlement “is committed to the sound discretion of the trial judge[.]” See
    17 Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998). This discretion is to
    18 be exercised “in light of the strong judicial policy that favors settlements, particularly
    19 where complex class action litigation is concerned,” which minimizes substantial
    20 litigation expenses for both sides and conserves judicial resources. See Linney v.
    21 Cellular Alaska P’ship, 151 F.3d 1234, 1238 (9th Cir. 1998) (quotations omitted).
    22           The Ninth Circuit Court of Appeals has articulated several factors relevant to
    23 the evaluation of the fairness of a class action settlement: (1) the strength of the
    24 plaintiffs’ case; (2) the risk, expense, complexity, and likely duration of further
    25 litigation; (3) the risk of maintaining class action status throughout the trial; (4) the
    26 consideration offered in settlement; (5) the extent of discovery completed, the stage
    27 of the proceedings; (6) the experience and views of counsel; and (7) the reaction of
    28 the class to the proposed settlement. Hanlon, 150 F.3d at 1026.

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     1           In addition, Rule 23(e)(2) requires parties to provide courts with sufficient
     2 information to determine that it will likely be able to approve the settlement as fair,
     3 reasonable, and adequate. The considerations are whether (a) the class representatives
     4 and class counsel have adequately represented the class; (b) the proposal was
     5 negotiated at arm’s length; (c) the relief provided by the settlement is adequate, taking
     6 into account: (i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of
     7 any proposed method of distributing relief including the method of processing class-
     8 member claims, if required; (iii) the terms of any proposed award of attorneys’ fees,
     9 including timing of payment; and (iv) any agreement required to be identified under
    10 Rule 23(e)(3) made in connection with the proposed settlement; and (d) the proposal
    11 treats class members equitably relative to each other.
    12           Under both standards, which include overlapping factors, the proposed
    13 Settlement is fair, reasonable, and adequate, and should be preliminarily approved.
    14              a) The Strengths of Plaintiff’s Case and the Risks Inherent in
    15                     Continued Litigation Against Defendants and Maintaining Class
    16                     Certification Favor Final Approval
    17           The first, second, and third Hanlon factors support final approval. Every class
    18 action involves uncertainty, both on the merits and on the appropriateness of class
    19 certification and this case was no different. There was no guarantee that Plaintiff
    20 would be able to verify a class and maintain certification through trial or that this
    21 Court would find in Plaintiff’s favor as to liability. Prior to Settlement, the Parties
    22 actively litigated the action. The litigation involved a large amount of discovery,
    23 including serving and responding to several sets of written discovery responses and
    24 engaging in multiple rounds of the meet and confer process. The parties engaged in
    25 extensive exchanges of documents and information, including data regarding putative
    26 class members, as well as formal discovery in the lawsuit.
    27           While Plaintiff strongly believes in the merits of his case, there was substantial
    28 risk to continuing to litigate his position. For example, whether Plaintiff would have

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     1 prevailed on his motion for class certification is uncertain given Defendants’
     2 opposition. Further, at the time of Settlement, Defendants still had valid defenses.
     3           Moreover, even if Plaintiff were to prevail at class certification, risks would
     4 have remained regarding the merits of the TCPA claim. See West Virginia v. Chas.
     5 Pfizer & Co., 314 F. Supp. 710, 743-44 (S.D.N.Y. 1970) (“[i]t is known from past
     6 experience that no matter how confident one may be of the outcome of litigation,
     7 such confidence is often misplaced”), aff’d, 440 F.2d 1079 (2d Cir. 1971); Berkey
     8 Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263 (2d Cir. 1979) (reversing $87 million
     9 judgment after trial).
    10           Securing a $2,500,000.00 settlement now with certainty of payment will
    11 provide meaningful relief to Settlement Class Members. Plaintiff and his counsel
    12 carefully balanced the risks of continuing to engage in protracted and contentious
    13 litigation against the benefits to the Settlement Class, including the amount of the
    14 Settlement Fund. Thus, the Settlement presents a fair and reasonable alternative to
    15 continued litigation.
    16              b) The $2,500,000.00 Fund Provides a Fair and Substantial Class
    17                     Benefit
    18          The fourth Hanlon factor – the amount offered in the settlement – also favors
    19 approval. Defendants have agreed to provide a $2,500,000.00 Settlement Fund,
    20 which will be used to pay all claiming Settlement Class Members and all settlement
    21 costs. Class Counsel estimates that the initial Settlement Class Payment will be
    22 approximately $34.18 assuming the Court grants Plaintiff’s request for attorneys’
    23 fees and costs, service award, and notice and administration costs. Although this
    24 amount is less than the TCPA’s statutory damages of $500, it is well-settled that a
    25 proposed settlement need not provide class members with the type of recovery they
    26 could obtain following a total win at trial. See National Rural Tele. Coop. v.
    27 DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004) (“well settled law that a
    28 proposed settlement may be acceptable even though it amounts to only a fraction of

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     1 the potential recovery”); In re Omnivision Tech., Inc., 559 F. Supp. 2d 1036 (N.D.
     2 Cal. Jan. 9, 2008) (court-approved settlement amount that was just over 9% of the
     3 maximum potential recovery).
     4          Here, the settlement award that each Settlement Class Member will likely
     5 receive is fair, appropriate, and reasonable in light of the risk, expense, and
     6 uncertainty of continued litigation within the TCPA’s changing landscape. This is
     7 clearly explained to Settlement Class Members in the Notice so they understand what
     8 they are giving up by participating in the settlement. Indeed, the estimated initial
     9 award of $34.18 is in line with payments in other TCPA settlements approved across
    10 the country. Steinfeld v. Discover Fin. Servs., No. C 12-01118, [DE 96] at ¶ 6 (N.D.
    11 Cal. Mar. 10, 2014) (claimants received $46.98); Adams v. AllianceOne Receivables
    12 Mgmt., Inc., No. 3:08-cv-00248-JAH-WVG, Dkt. No. 137 (S.D. Cal. Sept. 28, 2012)
    13 (claimants received $40); Kramer v. Autobytel, Inc., et al., No. 10-cv-2722, Dkt. 148
    14 (N.D. Cal. 2012) (cash payment of $100 to each class member); Estrada v. Yogi, Inc.,
    15 No. 2:13–01989 WBS CKD, 2015 WL 5895942, at *7 (E.D. Cal. Oct. 6, 2015)
    16 (granting preliminary approval to TCPA settlement where class members estimated
    17 to receive $40); Rose v. Bank of Am. Corp., 2014 WL 4273358, at *10 (N.D. Cal.,
    18 2014) (claimants estimated to receive $20 to $40). As the current settlement provides
    19 superior results to many other approved TCPA settlement, the fourth Hanlon factor
    20 strongly favors final approval.
    21              c) The Lack of a Government Participant Supports Final Approval of
    22                     the Settlement
    23         While no governmental agency is a party to this lawsuit, Epiq notified all
    24 pertinent government officials of the settlement as required by CAFA. See Exhibit
    25 B at ¶14. No governmental agency raised objections or concerns about the settlement
    26 and this factor therefore supports final approval. Id.
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     1              d) The Posture of The Case and Experience and View Of Counsel and
     2                     well as the Reaction of Settlement Class Members Favor Final
     3                     Approval
     4           The fifth, sixth and seventh Hanlon factors also support final approval of
     5 settlement. At the time the parties reached their settlement, they had completed
     6 discovery – including substantial written discovery took place and extensive law and
     7 motion practice. As a result, the Parties were thoroughly informed of the claims – and
     8 the risks associated with them – before they reached a settlement.
     9           Class Counsel – who have substantial experience litigating TCPA class actions
    10 – strongly believe that the Settlement is fair, reasonable, adequate, and in the best
    11 interests of the Class Members. The opinion of experienced counsel supporting the
    12 settlement is entitled to considerable weight. See e.g., Kirkorian v. Borelli, 695 F.
    13 Supp. 446 (N.D. Cal.1988) (opinion of experienced counsel carries significant weight
    14 in terms of the reasonableness of the settlement); Boyd v. Bechtel Corp., 485 F. Supp.
    15 610, 622 (N.D. Cal. 1979).
    16           Class Member reaction to the Settlement has been very well received. As of
    17 the date of this filing, not a single Class Member has objected and only four Class
    18 Members have opted-out of the Settlement. The lack of objections and exclusions
    19 strongly support approval. See Arnold v. Ariz. Depot. Of Pub Safety, No. CV-01-
    20 1463-PHX-LOA, 2006 WL 2168637, at *10 (D. Ariz. July 31, 2006) (Anderson,
    21 M.J.) (“The absence of any objections suggests that the class members are unopposed
    22 to terms of the Settlement Agreement. The absence of objections weighs in favor of
    23 approving the Settlement Agreement.); Wood v. Ionatron, Inc., No. CV-06-354-
    24 TUC-CKJ, 2009 WL 10673479, at *5 (D. Ariz. Sept. 28, 2009) (Jorgenson, J.)
    25 (same).
    26              e) The Settlement Also Meets the Requirements of Rule 23(e)(2) Which
    27                     Also Favors Final Approval
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     1         As stated above, the Settlement reached is a fair and reasonable alternative to
     2 continued litigation and as such it meets the requirements of Rule 23(e)(2).
     3         Class Members will receive a monetary award of approximately $34.18 without
     4 having to file a claim. The Ninth Circuit has identified “red flags” that may suggest
     5 that plaintiffs’ counsel allowed pursuit of their own self-interest to infect settlement
     6 negotiations, including when counsel receive a disproportionate portion of the
     7 settlement, the parties agree to a “clear sailing” arrangement providing for the
     8 payment of attorneys’ fees separate and apart from class funds, or the parties agree
     9 that any fees not awarded will revert to a defendant rather than be added to the class
    10 fund. In re Bluetooth Headset Products Liab. Litig., 654 F.3d 935, 947 (9th Cir.
    11 2011). None of these “red flags” are present in this settlement.
    12         First, since Class Counsel will be paid from the same Settlement Fund as
    13 Settlement Class Members, they were incentivized to negotiate the largest fund
    14 possible.
    15         Second, there is no “clear sailing provision” as Defendants retain the right to
    16 challenge the Plaintiff’s fee request as unreasonable. See Amed. Agr. at ⁋71. The
    17 Ninth Circuit defines a “clear sailing” agreement as one “providing for the payment
    18 of attorney’s separate and apart from class funds” and also one where “the defendant
    19 agrees not to oppose a petition for a fee award up to a specified maximum value.”
    20 Jones v. GN Netcom, Inc. (In re Bluetooth Headset Prods. Liab. Litig.), 654 F.3d 935,
    21 947 (9th Cir. 2011). Here, the original Settlement Agreement and amendments to the
    22 Settlement Agreement do not (1) provide for the payment of attorney’s fees separate
    23 and apart from class funds and (2) do not prevent Defendants from objecting to
    24 Plaintiff’s fee request. Accordingly, there is no “clear sailing provision.” Further,
    25 “clear sailing provisions are not prohibited,” and in situations like here, where any
    26 fees not awarded to Plaintiff’s counsel will be paid to Settlement Class Members,
    27 courts routinely accept clear sailing provisions. See Russell v. Kohl's Dep't Stores,
    28 Inc., 755 F. App’x 605, 608 (9th Cir. 2018) (concluding that existence of clear

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     1 sailing provision did not undermine settlement in part because class counsel’s fees
     2 “would come from a common fund” and “fees not awarded to counsel . . . would not
     3 revert” to defendant).
     4         Third, the Settlement was also not conditioned on any specific amount of a
     5 service award for Plaintiff. Based on the favorable terms of the Settlement Agreement
     6 obtained for the Class, both Plaintiff and Class Counsel have adequately represented
     7 the Class’s interests as required by Rule 23(e)(2)(A).
     8         As required by Rule 23(e)(2)(B), the Settlement reached was the result of arms-
     9 length negotiations with the aid of an experienced mediator. The time and effort spent
    10 on settlement negotiations, as well as the time spent in mediation with Ted Banstra
    11 and Jill Sperber, Esq., support approval of the proposed Settlement and strongly
    12 indicate there was no collusion. See National Rural Telecommunications Cooperative
    13 v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004) (settlements that follow
    14 sufficient discovery and genuine arms-length negotiation are presumed fair);
    15 Rodriguez v. W. Publishing, 563 F.3d 948, 965 (9th Cir. 2009) (“We put a good deal
    16 of stock in the product of an arm’s length, non-collusive, negotiated resolution.”).
    17         The relief provided to the Class is adequate under Rule 23(e)(2)(C) with a payout
    18 to the Class Members of approximately $34.18 is in line with other approved TCPA
    19 settlements, especially considering that Class Members may receive more than one
    20 Settlement Fund Payment. See e.g. Steinfeld v. Discover Fin. Servs., No. C 12-01118,
    21 [DE 96] at ¶ 6 (N.D. Cal. Mar. 10, 2014) (claimants received $46.98); Adams v.
    22 AllianceOne Receivables Mgmt., Inc., No. 3:08-cv-00248-JAH-WVG, Dkt. No. 137
    23 (S.D. Cal. Sept. 28, 2012) (claimants received $40).
    24         Lastly, the proposal treats Class Members equitably and equally as required by
    25 Rule 23(e)(2)(D). Any Settlement Class member who does not timely and validly
    26 request to opt-out shall be bound by the terms of this Agreement and shall
    27 automatically be mailed an initial Settlement Fund Payment. The amount of each
    28 Settlement Fund Payment initial payment shall be determined by the following

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     1 formula: Net Settlement Fund divided by total number of unique telephone numbers
     2 that received a Message = Settlement Fund Payment.
     3       IV.     CONCLUSION
     4         Plaintiff and Class Counsel respectfully request that this Court: (1) grant Final
     5 Approval to the Settlement and enter the proposed order attached as Exhibit E; (2)
     6 certify for settlement purposes the Settlement Class pursuant to Federal Rules of Civil
     7 Procedure 23(a), 23(b)(3), and 23(e); (3) appoint Plaintiff as Class Representative;
     8 (4) appoint as Class Counsel the law firms and attorneys listed in paragraph I of the
     9 Agreement; and (5) enter Final Judgment dismissing the Action with prejudice.
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     1
     2                             CERTIFICATE OF SERVICE
     3           I HEREBY CERTIFY that on this 17th day of February, 2022, I electronically
     4 filed the foregoing document with the Clerk of the Court using CM/ECF. I also certify
     5 that the foregoing document is being served this day on all counsel of record via
     6 transmission of Notice of Electronic Filing generated by CM/ECF.
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     8                                                 Respectfully submitted,
     9                                                 /s/ Scott Edelsberg
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